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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT
                                 EASTERN DIVISION

RUTH NORWOOD                                                                     PLAINTIFF

VS.                                            CIVIL ACTION NO. 2:21-CV-149-KS-MTP

GEORGIA-PACIFIC MONTICELLO LLC,
JOHN DOES 1-5 AND XYZ CORPORATIONS 1-5                                          DEFENDANTS

                            ANSWER AND DEFENSES OF
                         GEORGIA-PACIFIC MONTICELLO LLC

       COMES NOW, the Defendant, Georgia-Pacific Monticello LLC, (hereafter sometimes

referred to as “this Defendant” or “Georgia-Pacific”), by and through counsel, and in answering

the Complaint exhibited against it answers and says:

                                        FIRST DEFENSE

       The Complaint fails to state a claim against this Defendant upon which relief may be

granted and should be dismissed.

                                SECOND DEFENSE: ANSWER

       Answering the allegations of the Complaint, paragraph by paragraph, this Defendant says:

                                               I.

       The allegations in Paragraph I are admitted on information and belief.

                                               II.

       The allegations in Paragraph II are admitted except to deny that CT Corporation System

is this Defendant’s registered agent.




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                                                  III.

          The allegations in Paragraph III are not directed at this Defendant and do not require a

response from this Defendant. To the extent a response is required or to the extent the allegations

against another defendant are construed adversely to this Defendant, the allegations are denied.

                                                  IV.

          This Defendant denies the allegations in Paragraph IV in that the case has been removed

to United States District Court, which is a court that has subject matter and personal jurisdiction.

                                                  V.

          This Defendant admits that the Plaintiff was employed by and working for Weiser

Security Services, Inc. on September 22, 2019. The remaining allegations in Paragraph V are

denied.

                                                  VI.

          The allegations in Paragraph VI are denied.

                                                 VII.

          This Defendant denies the allegations in Paragraph VII as to liability and/or negligence.

This Defendant is without sufficient knowledge or information to admit or deny the allegations

as to incurred medical bills and/or medical damages arising from the incident, so those

allegations are denied for lack of sufficient knowledge or information.

                                                 VIII.

          The allegations in Paragraph VIII are denied.

                                                  IX.

          This Defendant denies the allegations contained in the unnumbered Paragraph IX




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beginning with the word “WHEREFORE” and denies that Plaintiff is entitled to any judgment

against it whatsoever or in the alternative, this Defendant denies Plaintiff is entitled to a judgment

for the amounts and types of claims made including the damages requested in subparagraphs (a)

through (e).

                                         THIRD DEFENSE

        The alleged accident, injuries, and damages many have been caused or contributed to by

the culpable conduct of others over whom this Defendant had no control. As to all such persons,

this Defendant pleads the apportionment and other provisions of Miss. Code Ann. § 85-5-7.

                                        FOURTH DEFENSE

        This Defendant asserts the doctrine of contributory or comparative negligence.

Immediately before and/or during the alleged incident, the Plaintiff may have committed

negligence, which negligence may have been a proximate contributing cause of the alleged

incident, injuries, and damages. Any recovery should therefore be barred or reduced by the amount

of such negligence if it is found to exist.

                                          FIFTH DEFENSE

        This claim may be barred by the laws governing workers compensation exclusivity.

                                         SIXTH DEFENSE

        If such claim is asserted against the Defendant, Plaintiff’s claims for punitive damages

under Mississippi law violates Defendant’s rights under the Fifth, Sixth, Eighth and Fourteenth

Amendments to the United States Constitution, and Article III, Sections 14, 23, 26, and 28 of the

Mississippi Constitution because, among other things: (1) Mississippi’s standard for an award of

punitive damages is so vague and indefinite that it does not give this Defendant fair notice of the

kind of conduct that would subject it to punishment or the severity of the penalty that the state



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might impose; (2) the jury is not provided with standards of sufficient clarity, objectivity, and

uniformity for determining either the appropriateness or the appropriate amount of the punitive

damage award; (3) the jury is not instructed on the limits of punitive damages awards imposed by

the applicable principals of punishment and deterrence; (4) an award of punitive damages is not

subject to judicial review on the basis of objective and uniform standards; (5) Plaintiff’s claim

exceeds the legitimate interest of the State in pushing unlawful conduct and deterring its repetition;

(6) Plaintiffs’ claims are grossly excessive in comparison to the civil or criminal penalties that

could be imposed for comparable conduct; (7) there is no basis to assume that a lesser deterrent

would not adequately protect the interest of the State’s citizens; (8) Plaintiff’s claims would

impose an undue burden on interstate commerce; and (9) for other reasons to be assigned at trial.

In the alternative, Defendant asserts the provisions of Miss. Code Ann. § 11-1-65 that are

applicable.

                                      SEVENTH DEFENSE

       This Defendant reserves the right to assert further affirmative defenses if they become

evident during through discovery or investigation.

                                        EIGHTH DEFENSE

       Unless expressly admitted herein, this Defendant denies all allegations of the Plaintiff’s

Complaint.

       AND NOW, having fully answered the Complaint, Defendant, Georgia-Pacific Monticello

LLC, demands judgment dismissing the Complaint with prejudice and awarding costs.

       THIS, the 30th day of November, 2021.




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                                            Respectfully submitted,

                                            /s/ C. Maison Heidelberg
                                            C. MAISON HEIDELBERG, MB #9559
                                            Attorney for Georgia-Pacific Monticello LLC


OF COUNSEL:

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                                   CERTIFICATE OF SERVICE

       I, C. Maison Heidelberg, of counsel for the Defendant, do hereby certify that I have this

day served via the Court’s electronic filing system a true and correct copy of the above and

foregoing to:

                Cory M. Williams
                L. O’Neal Williams, Jr.
                WILLIAMS, WILLIAMS & MONTGOMERY, P.A.
                140 Mayfair Road, Suite 1100
                Hattiesburg, MS 39402
                corywilliams@wwmlawfirm.net
                nealwilliams@wwmlawfirm.net

       THIS, the 30th day of November, 2021.


                                                          /s/ C. Maison Heidelberg
                                                          C. MAISON HEIDELBERG




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